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                                           Pg 1 of 3



                                            Exhibit 1

Troutman Sanders LLP
222 Central Park Avenue
Suite 2000
Virginia Beach, VA 23462
Telephone: (757) 687-7500
Facsimile: (757) 687-7510
Jason E. Manning

Ordinary Course Professional for the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                             )
 In re:                                      )     Case No. 12-12020 (MG)
                                             )
 RESIDENTIAL CAPITAL, LLC, et al.,           )     Chapter 11
                                             )
                               Debtors.      )     Jointly Administered
                                             )

        CERTIFICATION OF TROUTMAN SANDERS LLP IN SUPPORT OF
         APPLICATION OF TROUTMAN SANDERS LLP FOR AN AWARD
   OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR SERVICES
   RENDERED AS AN ORDINARY COURSE PROFESSIONAL FOR THE DEBTORS
      FOR THE PERIOD OF OCTOBER 1, 2012 THROUGH OCTOBER 31, 2012



               I, Jason E. Manning, hereby certify that:

          1.   I am a member of the applicant firm, Troutman Sanders LLP (“Applicant”), with

responsibility for compliance with the Amended Guidelines for Fees and Disbursements for

Professionals in Southern District of New York Bankruptcy Cases adopted by the Court on April

19, 1995 (the “Local Guidelines”), the United States Trustee Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330,

adopted on January 30, 1996 (the “UST Guidelines”) and the Order Under Bankruptcy Code




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Sections 105(a), 327 and 330 and Bankruptcy Rule 2014 Authorizing Employment and Payment

of Professionals Utilized in Ordinary Course of Business Nunc Pro Tunc to the Petition Date

[Docket No. 799], dated July 17, 2012 (the “OCP Order”), and collectively with the Local

Guidelines and UST Guidelines, the “Guidelines”) in the jointly administered chapter 11 cases

of Residential Capital, LLC, et al. (collectively, the “Debtors”), pursuant to Sections 327, 330

and 331 of the Bankruptcy Code, Fed. R. Bank P. 2016, and Local Bankruptcy Rule 2016-1.

        2.     This certification is made in respect of Applicant’s application, dated November

30, 2012 (the “Application”), for compensation and reimbursement of expenses for the period of

October 1-31, 2012.

        3.     I certify that:

               a.      I have read the Application;

               b.      to the best of my knowledge, information, and belief formed after

                       reasonable inquiry, the fees and disbursements sought fall within the

                       Guidelines;

               c.      the fees and disbursements sought are billed at rates in accordance with

                       those customarily charged by Applicant and generally accepted by

                       Applicant’s clients; and

               d.      in providing a reimbursable service, Applicant does not make a profit on

                       that service, whether the service is performed by Applicant in-house or

                       through a third party.

        4.     I certify that the Debtors, the Creditors Committee and the United States Trustee

for the Southern District of New York are each being provided with a copy of the Application,

along with the parties entitled to receive the Application.




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Dated: November 30, 2012
                                   TROUTMAN SANDERS LLP



                                   By:         /s/ Jason E. Manning
                                         Jason E. Manning (NY Bar #4207288)
                                         TROUTMAN SANDERS LLP
                                         222 Central Park Avenue
                                         Suite 2000
                                         Virginia Beach, VA 23462
                                         Telephone: (757) 687-7500
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                                         Ordinary Course Professional For The Debtors
                                         and Debtors in Possession




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